It was admitted that on 21 January, 1890, the defendant issued a license for the marriage of Ida Joyner, daughter of Foster Joyner, to Charles Lewis, and that under the license the parties were married, Ida being under eighteen years of age, which was known to Roberts before and at the time the license was issued.
A witness for the plaintiff testified that Foster Joyner had been absent from home ten or twelve days when the license was issued, and said, on cross-examination, after objection, that there was a rumor in the neighborhood that Foster was dead.
Joyner testified that he gave no written or other consent to the marriage, that he had been away from home eleven days, and all knew he was not dead. *Page 247 
The defendant testified for himself that he refused to issue the license to the one who applied for it because he did not have the written consent of the father or mother.
The applicant told him that the girl had no father, and witness filed up a blank written consent with the name of the mother. The applicant took it off and came back next day with the paper signed by the mother, and the license was issued. The applicant, Futrell, was a man of good character, and witness issued the license because he believed that the girl had no father. Witness did not recollect whether he had examined the census reports as to the girl's age or not.       (391)
Jackson Furtell testified that he witnessed the signing of the written consent by the girl's mother, and gave it to the register; that he applied for the license and told the register that the girl was sixteen or seventeen years of age; defendant said he could not give the license; no one knew where Foster Joyner was at the time, but it was generally reported that he was dead. He had been gone about two weeks when witness applied for license.
The plaintiff asked the court in writing to instruct the jury:
1. That if the jury believe that Foster Joyner, the father of Ida, and with whom Ida lived, was absent on a visit of two weeks to his brother in Hertford County, then the written consent of the mother was no compliance with the statute, and the plaintiff is entitled to recover $200 of defendants.
2. That if the jury believe the evidence the plaintiff is entitled to recover of the defendants the sum of $200.
Both of said prayers were refused, and plaintiff excepted.
His Honor charged the jury as follows:
"Does the evidence satisfy you that the defendant Roberts, as to the age and parents of Ida Joyner, made such inquiry as would have satisfied a man of reasonable prudence in the transaction of an important business matter, and was his information, coming from the source it did, such as would have satisfied a man of reasonable prudence of its truth and induced him to act on it in a business matter of importance? If so, and the defendant Roberts did act upon it in issuing the license, then the jury should find the issues in favor of the defendants."
To this charge the plaintiff excepted.
There was a verdict finding all the issues in favor of the defendants.
A motion by plaintiff for a new trial, and from the refusal the plaintiff appealed.                                                (392)
There was error on the part of the judge in leaving the question of reasonable inquiry to the jury. Emry v. R. R., 109 N.C. 589. As the case goes back for a new trial it is proper to say that if the circumstances testified to by the defendant and the witness Futrell are true, the, under our authorities, the defendant would have made such reasonable inquiry as is contemplated by the statute.
New trial.
Cited: Chesson v. Lumber Co., 118 N.C. 68; Harcum v. Marsh, 130 N.C. 156;Trollinger v. Burroughs, 133 N.C. 315; Furr v. Johnson, 140 N.C. 158;Laney v. Mackey, 144 N.C. 633; Joyner v. Harris, 157 N.C. 298;Gray v. Lentz, 173 N.C. 350; Julian v. Daniels, 175 N.C. 553.